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                               UNITED STATES DISTRICT COURT
                            FOR THE NORTHERN DISTRICT OF TEXAS
                                      DALLAS DIVISION


  SYMBOLOGY INNOVATIONS LLC,

                Plaintiff                                   Case No. 3:23-cv-02866-K


                v.                                          JURY TRIAL DEMANDED


  AMERICAN AUTOMOBILE
  ASSOCIATION INC ET AL

                Defendant


                          NOTICE OF APPEARANCE AS LOCAL COUNSEL

       Pursuant to Local Civil Rule 83.10, please take notice that M. Scott Fuller hereby enters his

appearance as local counsel for Plaintiff Symbology Innovations LLC in the captioned matter.

       Mr. Fuller is admitted to the bar of the U.S. District Court for the Northern District of Texas and

is in good standing; and his personal residence in Plano is located within 50 miles of the courthouse in

this district. As such, and pursuant to Local Civil Rule 83.10, Mr. Fuller qualifies to serve as local

counsel in this matter.




NOTICE OF APPEARANCE AS LOCAL COUNSEL                                                                   1
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 Dated: January 2, 2024                              Respectfully Submitted

                                                     /s/ M. Scott Fuller
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                                                     ATTORNEY FOR PLAINTIFF




                                    CERTIFICATE OF SERVICE

       I hereby certify that I electronically filed the foregoing document with the Clerk of Court for the
United States District Court, Northern District of Texas, Dallas Division, using the electronic case filing
system of the Court. The electronic case filing system sent a “Notice of Electronic Filing” to all
attorneys of record.

                                                     /s/ M. Scott Fuller
                                                     M. Scott Fuller




NOTICE OF APPEARANCE AS LOCAL COUNSEL                                                                    2
